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                                                          UNITED STATES DISTRICT COURT
                                                          WESTERN DISTRICT OF MICHIGAN
                                                               NORTHERN DIVISION

                              ERIC DEXTER WELCH,

                                             Plaintiff,                               Case No. 2:17-cv-38
                              V                                                       Hon. Timothy P. Greeley

                              MARK L. DOBIAS,

                                         Defendant.
                              ______________________/

                              Eric Dexter Welch                                  M. Sean Fosmire
                              10444-089                                          KITCH DRUTCHAS WAGNER
                              In Pro Per                                         VALITUTTI & SHERBROOK, P.C.
                              Marion (USP)                                       Attorney for Defendant
                              U.S. Penitentiary                                  1440 W. Ridge St. – Suite C
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                              ____________________________________________________________________________________


                                                              MOTION TO DISMISS AND
                                                             FOR SUMMARY JUDGMENT

                                       Defendant Mark Dobias, by his attorneys Kitch Drutchas Wagner Valitutti &

                              Sherbrook, P.C., moves that this Court dismiss certain elements of the Complaint for

                              failure to state a claim on which relief may be granted, and to grant summary judgment

                              in his favor on the remaining elements, and in support states:

                                  1.   Defendant was the court-appointed attorney representing Eric Welch as

                                       defendant in a criminal matter brought before this Court in 2010. United States v.

                                       Welch, docket no. 10-cr-00008.

                                  2.   Welch was indicted in February 2010, arrested in Wisconsin in March 2010, and
  Kitch Drutchas
 Wagner Valitutti &
    Sherbrook
ATTORNEYS AND COUNSELORS
                                       was brought to Michigan. Welch was a citizen of Wisconsin at that time.
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                              3.   His case went to trial in October 2010, with Mr. Dobias representing him, and

                                   resulted in a conviction for possession of child pornography.

                              4.   Welch was sentenced in December 2010.

                              5.   Dobias also represented Welch during the period of appeal.

                              6.   The appeal ended with an affirmance by the Sixth Circuit Court of Appeals,

                                   issued in October 2011. That marked the last professional service provided by

                                   the defendant.

                              7.   Under Michigan law, a claim for legal malpractice accrues on the date of last

                                   professional service, and must be filed within two years after the date of accrual.

                              8.   Plaintiff did not file this legal malpractice claim by October 2013.

                              9.   There is a six-month discovery rule recognized for such claims, but the

                                   undisputed facts show that Welch knew of the existence of his purported claim

                                   many years before the filing of the Complaint.

                              10. There have been numerous filings by Welch in this Court since the U.S. v. Welch

                                   case was concluded, some of which are unrelated to the issues currently raised.

                              11. Welch did file a motion in April 2013, in an attempt to have this Court vacate his

                                   conviction and/or reduce his sentence under 28 USC 2255, arguing that

                                   defendant Dobias had not provided effective assistance at trial. That request was

                                   denied, and the complaint dismissed, by this court.

                              12. The averments that are made in the complaint, even considering them with the

                                   customary lenity given to pro se litigants, fail to properly allege a claim for

                                   professional negligence on the part of Mr. Dobias.
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                              13. This motion is filed under Rule 12-b-6 of the Federal Rules of Civil Procedure,
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                                   and under Rule 56 as well.

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                         14. Under Rule 12-b-6, the complaint fails to state a claim on which relief may be

                               granted.

                         15. Based on the dates as established in the Complaint and in this Court's docket

                               entries, which are a matter of public record, the complaint in this case was filed

                               long after the statute of limitations expired as to any potential legal malpractice

                               claims.

                         16. Those filings also demonstrate that Mr. Welch had knowledge of the existence of

                               his claim at the time of his trial in 2010 and when his 2255 motion was filed in

                               April 2013.

                         17. The issues that are currently raised by Mr. Welch were previously raised,

                               considered, and rejected by this Court in its ruling on the 2255 motion in January

                               2014. Based on the rule of collateral estoppel (issue preclusion), they may not be

                               reraised now.

                         18. As to the Rule 56 grounds, there are no genuine issues of material fact, and the

                               defendant is entitled (on the undisputed facts) to judgment in his favor as a

                               matter of law.

                               FOR THESE REASONS, the defendant requests that this Court grant his motion.

                                                                            Respectfully submitted,

                                                                            KITCH DRUTCHAS WAGNER
                                                                            VALITUTTI & SHERBROOK, P.C.
                                                                            Attorneys for Defendant


                                                                            __________/s/______________
 Kitch Drutchas
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